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11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
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14   UNITED STATES OF AMERICA,                        )   CASE NO. 20-CR-00249 RS
                                                      )
15           Plaintiff,                               )
                                                      )   [PROPOSED] ORDER EXCLUDING TIME
16      v.                                            )   FROM MAY 31, 2022 TO AUGUST 30, 2022
                                                      )   UNDER THE SPEEDY TRIAL ACT
17   ROWLAND MARCUS ANDRADE,                          )
                                                      )
18           Defendant.                               )
                                                      )
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             On May 31, 2022, the parties appeared for a status conference before this Court. The Court set a
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     further status conference for August 30, 2022, and a trial date of August 7, 2023. In addition, the Court
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     found that an exclusion of time under the Speedy Trial Act through August 30, 2022 for effective
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     preparation of counsel was appropriate. Defendant is reviewing substantial discovery produced by the
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     government, and failure to grant an exclusion of time and a continuance of the matter would deny
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     counsel the reasonable time necessary for effective preparation, taking into account the exercise of due
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     diligence, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice
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     served by excluding the time from computation under the Speedy Trial Act outweigh the best interests
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     [PROPOSED] ORDER                                1
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 1 of the public and the defendant in a speedy trial.

 2          Therefore, IT IS HEREBY ORDERED that the time between and including May 31, 2022 to

 3 August 30, 2022 shall be excluded from computation under the Speedy Trial Act, pursuant to 18 U.S.C.

 4 § 3161(h)(7)(A), (B)(ii), and (B)(iv).

 5          IT IS SO ORDERED.

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 7 DATED:
                                                            HONORABLE RICHARD SEEBORG
 8                                                          United States District Judge

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     [PROPOSED] ORDER                                   2
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